Case 4:20-cv-03709 Document 13-9 Filed on 10/31/20 in TXSD Page 1 of 3




                       Exhibit 7
     Case 4:20-cv-03709 Document 13-9 Filed on 10/31/20 in TXSD Page 2 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


STEVEN HOTZE, M.D.; WENDELL
CHAMPION; HON. STEVE TOTH; and
SHARON HEMPHILL,
                                                            Civil Action No. 4:20-cv-03709
                       Plaintiffs,

       v.

CHRIS HOLLINS, in his official capacity as Harris
County Clerk,

                       Defendants,

       and

MJ FOR TEXAS; DSCC; DCCC; MARY
CURRIE; CARLTON CURRIE; JEKAYA
SIMMONS; and DANIEL COLEMAN,

                       Proposed Intervenor-
                       Defendants



                           DECLARATION OF JEKAYA SIMMONS

       Pursuant to 20 U.S.C. § 1746, I, JeKaya Simmons, declare as follows:
       1.     My name is JeKaya Simmons. I am over the age of 18, have personal knowledge of

the facts stated in this declaration, and can competently testify to their truth.

       2.     I am a registered voter in Harris County.

       3.     On October 14, I voted using Harris County’s drive-thru voting at the Toyota Center.

I had to show my ID and sign the register before I was permitted to vote.

       4.     I chose to vote using drive-thru voting because Harris County advertised it as an

option for voters this year and I believed it was a good option for someone like me. Because of

this litigation, I am now worried that my ballot may not be counted even though I did everything

the election officials asked of me.



                                                                                               Exhibit 7
                                                                                             Page 1 of 2
    Case 4:20-cv-03709 Document 13-9 Filed on 10/31/20 in TXSD Page 3 of 3




       5.     I am also seriously concerned that, if this court were to invalidate my legitimate

vote, I would have to cast a new ballot to ensure my vote is counted. Because early voting ends

today, the only way for me to do that would be to go to my polling place on Election Day. But the

whole reason I chose to vote early was to avoid that situation. I have study obligations that would

make it difficult to go to the polls and stand in line on Election Day. Moreover, I am very concerned

about the risk of being infected with the coronavirus that accompanies standing in line at the polls.

That was why I chose the drive-through option in the first place. If I have to go to a polling place

on Tuesday to cast a new ballot, I would be forced into a position where I have to choose between

my right to vote and my wellbeing.



               I declare under penalty of perjury that the foregoing is true and correct.



       DATED: October 30, 2020




                                              By: ____________________________

                                              JeKaya Simmons




                                                -2-
                                                                                              Exhibit 7
                                                                                            Page 2 of 2
